1
      STEVEN J. SIBLEY (SBN 152365)
2     JOHN DINAPOLI (SBN 84365)
      DINAPOLI & SIBLEY
3     Ten Almaden Boulevard, Suite 1250
      San Jose, CA 95113-2271
4     Telephone: (408) 999-0900
      Facsimile: (408) 999-0191
5     e-mail:     sjs@dslaw.net

6     Counsel to KURT MILLER,
      Movant.
7

8
                          THE UNITED STATES BANKRUPTCY COURT
9
                   NORTHERN DISTRICT OF CALIFORNIA-SAN JOSE DIVISION
10
      IN RE:                                          Case No. 18-51575 MEH
11

12           GLORIA CABRAL,                           Chapter 13

13                                                    DECLARATION OF JEFFREY MENTZOS IN
                     Debtor.                          SUPPORT OF AMENDED MOTION TO
14                                                    TERMINATE, ANNUL AND FOR IN REM
                                                      RELIEF FROM THE BANKRUPTCY
15                                                    AUTOMATIC STAY

16
                                                      [Property: 3474 Gila Drive, San Jose,
17                                                    California 95148]

18                                                    Final Hearing
                                                      Date: October 24, 2018
19                                                    Time: 9:00 a.m.
                                                      Place: Courtroom 3020
20                                                            Federal Courthouse-San Jose
                                                              280 South First Street
21                                                    Judge: M. Elaine Hammond

22

23

24           JEFFREY MENTZOS, declares: I am not a party to this action, have personal

25    knowledge of the facts stated herein and could and would testify competently to the
26    following:
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             1.      On 9/1/2007 Gloria Cabral, the debtor, as maker executed and
28
      delivered a promissory note for $100,000 in favor of Kurt Miller. The note attached as




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1
      Creditor’s Exhibit A was signed by Gloria Cabral on 9/1/2007.
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              2.    On 9/1/2007 the debtor Gloria Cabral aka Gloria Cabral Robles, granted
3
      and signed a deed of trust to Rong Tu as beneficiary. See Creditor’s Exhibit B. I am
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5     informed and believe that the KAM Trust documents were created at my law office by

6     my now-deceased spouse, attorney Tina Triano at KURT MILLER’s request in 2003.
7     It was my understanding that the Cabral note and the second deed of trust were to be
8
      conveyed to the KAM trust and that Ms. Rong Tu was the trustee of the trust.
9
              3.    On 4/21/2008, Ms. Rong Tu signed a substitution of trustee naming me
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      as Trustee of the Cabral Deed of Trust (Creditor’s Exhibit D). This substitution
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12    supplemented the original deed of trust which had not named a trustee. The

13    substitution of trustee was recorded on 5/13/2008.

14            4.    I have never spoken to or had a conversation with Daniel Arce, Gloria
15    Cabral or any of Gloria Cabral’s daughters about the Cabral note or the second deed
16
      of trust.
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              5.    Mr. Miller informed me of the meeting with Gloria Cabral and several of
18
      her daughters on June 21, 2013, which meeting discussed the Cabral note payments.
19

20    At that meeting and according to Mr. Miller, Gloria Cabral told Mr. Miller that she

21    would not sell or refinance either the Gila Drive Property or the Guadalajara, Mexico

22    property to pay the Cabral promissory note.
23
              6.    On 12/19/2014 and following the relief from stay order, I was instructed
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      by Mr. Miller to begin foreclosure proceedings against the Property for the second
25
      deed of trust. Mr. Miller told me that Ms. Rong Tu was informed of and approved the
26
      issuance of the resulting Notice of Default, which is Creditor’s Exhibit H.
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28            7.    I erroneously caused to be issued another Notice of Default for the




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1
      Cabral note on June 13, 2018.     The second NOD was issued because I erroneously
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      thought the first notice of default from 2014 had expired. No one ever contacted me
3
      about the second NOD.
4

5             8.     On 6/18/2018, I was instructed by Mr. Miller as the trustee of the

6     second deed of trust to take the next step in the foreclosure process, which was a
7     Notice of Trustee’s Sale. The resulting notice of trustee sale is Creditor’s Exhibit J.
8
      The trustee sale was scheduled for 7/18/2018. No one contacted me about the
9
      Notice of Trustee sale.
10
              9.     Shortly before the 7/18/2018 trustee sale, I received a text from an
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12    unidentified number. That text contained what appeared to be a bankruptcy petition

13    and grant deed forms. Neither the petition nor the grant deed forms were signed or

14    was there any indication that the bankruptcy was filed.
15            10.    I asked ZDENKA KOLARIK to conduct the trustee sale as my agent.
16
      On 7/18/2018, Zdenka Kolarik, as the agent for the trustee of the second deed of
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      trust conducted the trustee sale, foreclosing on the second deed of trust secured by
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      the unpaid Cabral note. Mr. Miller was the successful and only bidder, credit bidding
19

20    a portion of the sums due on the Note. At the time of the trustee sale, the amount

21    owing on the note was $244,022.98.        A copy of the original trustee’s deed dated

22    July 23, 2018 and the Corrective trustee’s deed upon sale, recorded the next day
23
      (July 24, 2018) are Creditor’s Exhibits K and L.
24
              11.    On or about July 20, 2018, I was contacted by Linda Keny, Esq.,
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      representing Ms. Cabral. Ms. Keny requested a meeting to discuss resolution of the
26
      Cabral note. Ms. Keny did not mention that Ms. Cabral had filed another bankruptcy
27
28    case.




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1
             I declare under penalty of perjury under the laws of the United States that the
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      foregoing is true and correct. Executed this 19th day of October at Morgan Hill,
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      California.
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5                                                /s/ Jeffrey Mentzos

6                                               JEFFREY MENTZOS
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